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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                   CASE NO. 3:02cr5 LAC

ALBERT B. PERRIN

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on JULY 10, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE            on 7/10/08    Doc.# 206

RESPONSES:
BY GOVERNMENT                                  on 7/14/08               Doc.# 207
                                               on                       Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it    is    ORDERED    this   22 nd   day   of
July, 2008, that:
(a) The relief requested is DENIED.
(b) Defendant faced a mandatory minimum of life in prison which was reduced to
180 months with a 5K1.1.     Defendant’s sentence still today would require a
mandatory life sentence except for the 5K1.1. 180 months remains the appropriate
sentence based upon the facts and circumstances of the case.




                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
